       Case 15-71563-sms            Doc 114 Filed 04/02/18          Entered 04/02/18 14:21:13           Desc Ntc.
                                         of Transfer of Claim       Page 1 of 1
                                       UNITED STATES BANKRUPTCY COURT

                                                Northern District of Georgia




IN THE MATTER OF:                                                               CASE NUMBER:

Rita Ann Rose,                                                                  15−71563−sms

                                                                                CHAPTER: 11

                       Debtor(s)                                                JUDGE: Sage M. Sigler



                              NOTICE OF FILING PROOF OF TRANSFER OF CLAIM



Proposed Transferee: Greenpoint Mortgage Funding, Inc
Proposed Transferor: Capital One N.A.
Owner of claim per Court records: Capital One N.A.
Claim Number(s) 8−1




   Pursuant to the Federal Rules of Bankruptcy Procedure, you are hereby notified of the filing of proof of transfer

of the claim in the above−named case. Objections to this transfer, if any, must be filed with the


                                                Clerk, U. S. Bankruptcy Court
                                                1340 United States Courthouse
                                                  75 Ted Turner Drive SW
                                                     Atlanta, GA 30303

within twenty−one days from the date of this notice and a copy served upon the opposing party. If no objections are filed,

the transferee will be substituted as the claimant in this case.



Dated April 2, 2018




M. Regina Thomas , Clerk of Court
U.S. Bankruptcy Court
Form 428
